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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge R. Brooke Jackson

Civil Action No 19-cv-00808-RBJ

JERRAMIE BULLOCK, an individual,

       Plaintiff,

v.

ROLF’S MOTORCYCLE SHOP, LLC, a Colorado Limited Liability Company,

       Defendant.



         ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION TO REMAND



       THE COURT, having reviewed Plaintiff’s motion [ECF No. 12], the court file, and being

otherwise fully informed, hereby Grants Plaintiff’s motion and remands this case to the Boulder

County District Court pursuant to 28 U.S.C. § 1441(b)(2).

       DONE this 22nd day of April, 2019.




                                            R. Brooke Jackson
                                            United States District Judge
